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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

UNITED STATES AUTOMOBILE
ASSOCIATION,

      Plaintiff,
                                              Case No. 2:18-cv-245-JRG
      v.

WELLS FARGO BANK, N.A.,

      Defendant.


           DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS
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       The mental process of taking a picture is not patentable. From the advent of photography

in the 1800s to the current environment of ubiquitous selfies and social media, the mental process

of taking a picture remains omnipresent. Indeed, today thousands of mobile phone users and

photographers (professional and lay alike) every minute will mentally frame a picture, adjust the

camera angle or zoom to optimize the picture, and capture the desired image. Nowhere is this

mental process more astutely captured than in Pisa, Italy, where every day tourists angle and adjust

their cameras and smartphones to capture this famous image:




The mental process of framing, monitoring, and then capturing an image is not patentable. Tacking

on an added step of transmitting the image is also not patentable—as this is merely tantamount to

sharing the resulting image with social media or even with friends and family.

       In this case, however, USAA is now asserting patents that attempt to claim this mental

process—albeit in the context of mobile check deposit. USAA seeks to patent the mental process

of taking an image of a check—framing the image, monitoring the image, adjusting the camera

based on simple feedback, taking the picture, and then transmitting it. USAA patents merely seek

to move this process from the human mind to a generic computer processor in violation of now

well-established Supreme Court precedent. Once the standard two-step Alice test is applied to

USAA’s patents, however, the result is plain. The patents are invalid for attempting to patent the


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patent-ineligible, abstract, and wholly-mental practice of monitoring, capturing, and transmitting

an image.

I.     STATEMENT OF ISSUES

       Wells Fargo requests that the Court dismiss USAA’s Complaint (Dkt. No. 1) pursuant Rule

12(c) because the Asserted Patents 1 are directed to the abstract idea and do not include additional

meaningful limitations amounting to an inventive concept that could render the claims eligible for

patenting.

II.    BACKGROUND

       The four Asserted Patents stem from two patent families. The ’779 Patent and the ’517

Patent have the same priority date (August 28, 2009), share the same specification, and are both

entitled “Systems and Methods for Alignment of Check during Mobile Deposit.” Likewise, the

’571 Patent and the ’090 Patent have the same priority date (August 21, 2009), share the same

specification, and share similar titles: “Systems and Methods for Image Monitoring of Check

during Mobile Deposit,” and “Systems and Methods for Image and Criterion Monitoring during

Mobile Deposit,” respectively.

       In addition, all four Asserted Patents concern the same abstract concept of monitoring,

capturing, and transmitting an image. USAA agrees at least in part with this characterization, as

USAA alleged in its Complaint that all four Asserted Patents addressed “technological problems

associated with computer systems used as part of capturing images . . . .” (Dkt. No. 1 at ¶¶ 15 and

17 (emphasis added)). USAA’s descriptions of the Asserted Patents similarly capture the abstract

concept of monitoring, capturing, and transmitting an image. For example, USAA describes the




1
 U.S. Patent Nos. 8,699,779 (the “’779 Patent”), 9,336,517 (the “’517 Patent”), 9,818,090 (the “’090
Patent”), and 8,977,571 (the “’571 Patent”) (collectively, the “Asserted Patents”).
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’779 and ’517 Patents as being directed to a “check monitoring system that monitors specific

features of the check, such as alignment, an automatic image capture system that works in concert

with the alignment monitoring system, and a transmission system.” (Id. at ¶ 14 (emphasis added)).

USAA describes the ’090 and ’571 in similar terms: “a check monitoring system that monitors

specific features of the check with respect to a monitoring criterion, a feedback system 2 that

instructs the user regarding how to satisfy the monitoring criterion, and an automatic capture

system that works in concert with the monitoring system to automatically capture a check image

when the monitoring criterion is satisfied.” (Id. at ¶ 16)

       With regard to communication networks or hardware, none of the specifications for the

four Asserted Patents describe novel or unique communications networks or hardware (either on

the bank’s end or with the user). Instead, all four specifications describe the networks and

hardware needed as “any suitable network,” “any combination of systems and subsystems,” “any

combination of hardware components . . . and/or software components,” and “any type of mobile

device.”

       For example, the specifications state that “any suitable network” will suffice. (See, e.g.,

’779 Patent at 17:35-37 (“The network 1014 may be any suitable network and may support any

appropriate protocol suitable for communication to the computer 1010.”). The specifications list

the generic possibilities: “The user 102 may communicate with financial institution 130 by way of

communications network 120 such as an intranet, the Internet, a local area network (LAN), a wide

area network (WAN), a wireless fidelity (WiFi) network, a public switched telephone network

(PSTN), a cellular network, a voice over Internet protocol (VoIP) network, and the like.” (’779




2
 Note, as discussed further below, the inclusion of a “feedback system” is merely an extension of the
monitoring system—and one that in and of itself is abstract.
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Patent at 3:13-18, ’517 Patent at 3:24-30, ’090 Patent at 3:29-35, and ’571 Patent at 3:12-18).

Indeed, no novel or unique communications network is described anywhere in any Asserted Patent.

       Likewise, the specifications describe the financial institution’s hardware and software in

highly generic terms. For example, the Asserted Patents state that hardware “may include any

combination of systems and subsystems such as electronic devices including, but not limited to,

computers, servers, databases, or the like,” with such devices including “any combination of

hardware components such as processors, databases, storage drives, registers, cache, random

access memory (RAM) chips, data buses, or the like and/or software components such as operating

systems, database management applications, or the like.” (’779 Patent at 4:22-32, ’517 Patent at

4:35-43, ’090 Patent at 5:2-11, and ’571 Patent at 4:48-56).

       The Asserted Patents similarly describe the user’s hardware and software as any type of

mobile device, including “a mobile phone (also known as a wireless phone or a cellular phone), a

personal digital assistant (PDA), or any handheld computing device, for example.” (’779 Patent

at 3:49-52, ’517 Patent at 3:60-63, ’090 Patent at 4:1-4, and ’571 Patent at 3:48-51). The

components of that mobile device are generically stated to include “a processor 1020, 3 a storage




3
  The processor is further generically described as follows: “The processor 1020 represents a central
processing unit of any type of architecture, such as a CISC (Complex Instruction Set Computing), RISC
(Reduced Instruction Set Computing), VLIW (Very Long Instruction Word), or a hybrid architecture,
although any appropriate processor may be used.” (’779 Patent at 16:13-18, ’517 Patent at 16:26-31, ’090
Patent at 19:25-31, and ’571 Patent at 18:51-56).

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device 1022, 4 an output device 1024, 5 an input device 1026, 6 and a network interface device 1028,

all connected via a bus 1030. 7” (’779 Patent at 16:10-13, ’517 Patent at 16:23-26, ’090 Patent at

19:22-25, and ’571 Patent at 18:48-51). The software employed on this device is also generically

described as program modules . . . includ[ing] routines, programs, objects, components, data

structures, etc. that perform particular tasks or implement particular abstract data types,” or as a

software object that may operate through an API compatible with any known mobile operating

system. (See ’779 Patent at 7:55-8:2 and 15:65-16:2, ’517 Patent at 7:64-8:13 and 16:11-15, ’090

Patent at 11:35-50 and 19:9-13, and ’571 Patent at 11:6-21 and 18:36-40). Indeed, the wholly

generic nature of the computing environment in question is exemplified in Figure 10 of the

Asserted Patents, in which the entire environment is expressed in generic terms:




4
 The storage device is further generically described as follows: “The storage device 1022 represents one
or more mechanisms for storing data. For example, the storage device 1022 may include read-only memory
(ROM), RAM, magnetic disk storage media, optical storage media, flash memory devices, and/or other
machine-readable media. In other embodiments, any appropriate type of storage device may be used.” (’779
Patent at 16:35-40, ’517 Patent at 16:48-53, ’090 Patent at 19:46-52, and ’571 Patent at 19:5-10).
5
 The output device is further generically described as follows: “The output device 1024 is that part of the
computer 1010 that displays output to the user. The output device 1024 may be a liquid crystal display
(LCD) well-known in the art of computer hardware.” (’779 Patent at 16:63-66, ’517 Patent at 17:9-11, ’090
Patent at 19:46-52, and ’571 Patent at 19:5-10).
6
 The input device is further generically described as follows: “The input device 1026 may be a keyboard,
mouse or other pointing device, trackball, touchpad, touch screen, keypad, microphone, voice recognition
device, or any other appropriate mechanism for the user to input data . . . .” (’779 Patent at 17:7-11, ’517
Patent at 17:20-24, ’090 Patent at 20:19-24, and ’571 Patent at 19:43-48).
7
  The network interface device and bus are further generically described as follows: “The network interface
device 1028 provides connectivity from the computer 1010 to the network 1014 through any suitable
communications protocol,” and “[t]he bus 1030 may represent one or more busses, e.g., USB, PCI, ISA
(Industry Standard Architecture), X-Bus, EISA (Extended Industry Standard Architecture), or any other
appropriate bus and/or bridge (also called a bus controller” (’779 Patent at 17:15-24, ’517 Patent at 17:28-
36, ’090 Patent at 20:27-35, and ’571 Patent at 19:51-59).


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(Id. at Fig. 10).

III.    LEGAL STANDARDS

                This case should be disposed of at the pleading stage.

        Rule 12(c) of the Federal Rules of Civil Procedure provides “[a]fter the pleadings are

closed—but early enough not to delay trial—a party may move for judgment on the pleadings.”

Fed. R. Civ. P. 12(c). A motion for judgment on the pleadings under Rule 12(c) “is designed to

dispose of cases where the material facts are not in dispute and a judgment on the merits can be

rendered by looking to the substance of the pleadings and any judicially noticed facts.” Great

Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 312 (5th Cir. 2002). In

ruling on a motion under Rule 12(c), the Court may consider the pleadings themselves, and any

exhibits thereto or matters incorporated by reference therein. See Voest–Alpine Trading USA

Corp. v. Bank of China, 142 F.3d 887, 891 n.4 (5th Cir.1998) (holding that documents attached to

the pleadings “thereby [become] part of [the] pleadings”). The ultimate question for the court in


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deciding a Rule 12(c) motion is whether, viewed in the light most favorable to the plaintiff, the

complaint states a valid claim for relief. See Hughes v. Tobacco Inst., Inc.,278 F.3d 417, 420 (5th

Cir.2001); St. Paul Mercury Ins. Co. v. Williamson, 224 F.3d 425, 440 n.8 (5th Cir.2000).

       As the Federal Circuit recently reaffirmed, patent subject matter eligibility under § 101 is

a question of law particularly suitable for resolution at the pleading stage of a patent litigation

matter. SAP Am., Inc. v. InvestPic, LLC, 890 F.3d 1016, 1020 (Fed. Cir. 2018) (affirming Rule 12

invalidity finding and stating that “[l]ike other legal questions based on underlying facts, this

question may be, and frequently has been, resolved on a Rule 12(b)(6) or (c) motion where the

undisputed facts, considered under the standards required by that Rule, require a holding of

ineligibility under the substantive standards of law.”); see also Content Extraction and

Transmission LLC v. Wells Fargo Bank, NA, 776 F.3d 1343 (Fed. Cir. 2014). Indeed, this Court

has recognized as much, and has invalidated numerous patents at the Rule 12 stage. See Clear

with Computers, LLC v. Altec Indus., Inc., Case No. 6:14-cv-79, 2015 WL 993392, at *3

(recognizing that “a determination of patent validity under § 101 may be made at the pleading

stage”) (Gilstrap, J.), aff’d 636 F. App’x 1015 (Fed. Cir. 2016); Falkon Treasures LLC v. ADIDAS

America, Inc., No. 2:16-cv-653, 2017 WL 1376447, at *1 (E.D. Tex. Apr. 17, 2017) (Gilstrap, J.,

adopting report and recommendation of Payne, M.J.); and Mantis Commnc’s, LLC v. Baskin-

Robbins Franchising, LLC, et al., Case No. 2:17-cv-328, 2017 WL 557519, at *1 (E.D. Tex. Nov.

17, 2017) (same).

       The focus of a § 101 inquiry, even at the pleading stage, is on the claims. Dealertrack, Inc.

v. Huber, 582 F.3d 1315, 1334 (Fed. Cir. 2012) (“In considering patent eligibility under § 101, one

must focus on the claims.”). Claim construction is not required to conduct a § 101 analysis. See,

e.g., buySAFE, Inc. v. Google Inc., 765 F.3d 1350 (Fed. Cir. 2014) (upholding Judge Stark’s grant



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of defendant’s 12(c) motion). Thus, motions to dismiss and motions for judgment on the pleadings

on § 101 grounds—like Wells Fargo’s motion here—can be and routinely are decided without

claim construction. See Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S.Ct. 2347 (2014) (finding

subject matter ineligible without performing claim construction).

               The law of 35 U.S.C. § 101

       Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. But

the Supreme Court specifically recognizes three exceptions to patent eligibility: “laws of nature,

physical phenomena, and abstract ideas.” Alice, 134 S. Ct. at 2354 (quoting Assoc. for Molecular

Pathology v. Myriad Genetics, Inc., 133 S. Ct. 2107, 2116 (2013)). Patent law does not allow

monopolization of these basic “principle[s] of the physical or social sciences” because they are the

“building blocks of human ingenuity.” Id. at 2354, 2359 (emphasis added). Instead, such building

blocks should be “free to all men and reserved exclusively to none.” Mayo Collaborative Servs. v.

Prometheus Labs., Inc., 566 U.S. 66, 70 (2012) (internal quotations omitted).

       Determining whether a patent claim impermissibly claims an abstract idea involves two

steps: First, the court determines “whether the claims at issue are directed to a patent-ineligible

concept.” Alice, 134 S. Ct. at 2355. Second, if the claim contains such an abstract idea, the court

evaluates whether there is, apart from the abstract idea, “an ‘inventive concept’—i.e., an element

or combination of elements that is sufficient to ensure that the patent in practice amounts to

significantly more than a patent upon the ineligible concept itself.” Id. (internal quotations and

citations omitted). The analysis typically begins by comparing the claim at issue to claims with a

“similar or parallel descriptive nature” that have been analyzed in previous cases. Amdocs (Israel)

Limited v. Openet Telecom, Inc., 841 F.3d 1288, 1295 (Fed. Cir. 2016) (“We begin, then, with an

examination of eligible and ineligible claims of a similar nature from past cases.”).
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       Transformation of an idea into a patent-eligible application requires “more than simply

stating the abstract idea while adding the words ‘apply it.’” Alice, 134 S. Ct. at 2357 (quoting

Mayo, 566 U.S. at 72). In the context of computer-related technology, a claim must be directed to

a specific “improvement in computer capabilities” rather than “an ‘abstract idea’ for which

computers are invoked merely as a tool.” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1336

(Fed. Cir. 2016). Indeed, if—as here—a claim could be performed in the human mind, or by a

human using pencil-and-paper, it is not patent-eligible. CyberSource Corp. v. Retail Decisions,

Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011); see also Planet Bingo, LLC v. VKGS LLC, 576 F.

App’x 1005, 1008 (Fed. Cir. 2014) (“[N]ot only can these steps be carried out in existing

computers long in use,’ but they also can be ‘done mentally.’”) (citation omitted).

IV.    ARGUMENT

       This Court has efficiently applied the Supreme Court and Federal Circuit’s bright-line rules

of patent-eligibility to dismiss patent cases on the pleadings. See Clear with Computers, 2015 WL

993392, at *6; Falkon Treasures, 2017 WL 1376447, at *1; Mantis Commnc’s, 2017 WL 557519,

at *1. USAA’s infringement claims should be similarly dismissed because the Asserted Patents

simply cannot survive the straightforward analysis these cases require.

       Here, the Asserted Patents as a whole are directed to the same concept and may be treated

similarly via two representative claims. Moreover, the Asserted Patents may be invalidated at the

pleading stage because claim construction is not necessary.        Here, the claims can be well

understood without construction or are so generic that no construction would provide meaningful

limitations to transform them into eligible subject matter. As such, claim construction will not

alter the § 101 analysis. With these potential roadblocks easily cleared, the Asserted Patents are

invalid under Alice step one because they claim nothing more than the abstract idea of monitoring,

capturing, and transmitting an image. This conclusion of invalidity remains untouched in Alice
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step two because the claims add nothing more. The entirety of the claims addresses the abstract

idea itself performed on mere generic computer components.

               The claims of the Asserted Patents are substantially similar and the § 101
               analysis may be accomplished using two representative claims.

       The use of representative claims as a proxy for a claim-by-claim analysis of eligibility

under 35 U.S.C. §101 is a well-accepted practice, and indeed it is often a practical necessity. See

Alice, 134 S.Ct 2359-60 (finding 208 claims to be patent-ineligible based on analysis of one

representative claim); see also Content Extraction and Transmission LLC v. Wells Fargo Bank,

Nat’l Ass’n, 776 F.3d 1343, 1349 (Fed. Cir. 2014) (finding that for the purpose of a § 101 challenge

“1) the claims of the asserted patents are substantially similar in that they recite little more than

the same abstract idea, and 2) claim 1 of the ’855 patent and claim 1 of the ’416 patent are

representative”). Indeed, when USAA itself challenges the validity of claims based on § 101, it

uses representative claims for its own purposes (including before this Court).           See Smart

Authentication IP, LLC v. USAA, Case No. 2:16-cv-1232, Dkt. No. 37, at 8 (E.D. Tex. Feb. 6,

2017); St. Isidore Research, LLC v. Comerica Inc., et al., Case No. 2:15-cv-1390, Dkt. No. 54, at

1-3 (E.D. Tex. Dec. 8, 2015). The use of representative claims is also particularly appropriate

where, as here, the Asserted Patents belong to similar patent families, involve the same technology,

and share nearly identical patent specifications.

       Here, claim 10 of the ’779 Patent and claim 11 of the ’090 Patent are representative of the

claims of the Asserted Patents for the purposes of this Motion, and are reproduced below:

             ’779 Patent, Claim 10                             ’090 Patent, Claim 11
 10. A non-transitory computer-readable         11. A method for capturing an image of a
 medium comprising instructions for             target document by a mobile computing
 depositing a check, said instructions being    device, the method comprising:
 executed by a processor of a mobile device to:
                                                    monitoring a target document in a field of
                                                    view of an image capture device with

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             ’779 Patent, Claim 10                              ’090 Patent, Claim 11
    project an alignment guide in a display of          respect to a monitoring criterion, wherein
    the mobile device, the display of the               the image capture device is included in the
    mobile device displaying a field of view            mobile computing device;
    of a camera of the mobile device:
                                                        controlling a presentation device to
    monitor an image of the check that is               present feedback information describing
    within the field of view of the camera;             an instruction for satisfying the
                                                        monitoring criterion, wherein the
    determine whether the image of the check            presentation device is included in the
    aligns with the alignment guide;                    mobile computing device;
    automatically capture the image of the              determining whether the monitoring
    check when the image of the check is                criterion is satisfied based on the target
    determined to align with the alignment              document in the field of view of the image
    guide; and                                          capture device; and
    transmit the image of the check from the            when the monitoring criterion is
    mobile device to a deposit system.                  determined to be satisfied, controlling the
                                                        image capture device to capture an image
                                                        depicting the target document in the field
                                                        of view of the image capture device.


All of the claims of the Asserted Patents contain similar limitations. The only differences are

minor—clarifying or adding minor features such as adjusting the alignment guide, editing the

captured image, obtaining financial information the check image, storing the image, changing the

format of the feedback instruction, or taking a second image if the first is not satisfactory.

               Claim construction is not necessary to resolve the Asserted Patents’ invalidity
               under 35 U.S.C. § 101.

       Both this Court and the Federal Circuit have routinely recognized that claim construction

is not necessary to resolve a § 101 inquiry. See Content Extraction, 776 F.3d at 1349, and Clear

with Computers, 2015 WL 993392, at *3. Indeed, as USAA has repeatedly argued before this

Court, claim construction is not required to conduct a § 101 analysis. See Smart Authentication,

Dkt. No. 37, at 22-23, and St. Isiodore, Dkt. No. 54, at 6. This is particularly true in situations

such as this where (as USAA itself has recognized in similar cases):

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           •   the routine steps of the claim “can be well understood without construction,”

           •   the claimed steps are “so generic . . . that no construction would provide meaningful
               limitations to transform the abstract nature of the claims into an otherwise eligible
               and inventive concept,” or

           •   the patent-eligibility issue is ripe for resolution because “construing these terms
               would not alter the Court’s analysis under § 101.”

Id.

       Moreover, USAA’s infringement allegations in the Complaint provide a clear picture of

the perceived breadth with which USAA views its claims. The alignment guides, monitoring

criteria, and feedback instructions claimed in the Asserted Patents are nothing more than abstract,

mental processes that any human goes through when capturing an image. When taking a picture—

whether it be a selfie or a family photo—we all go through the mental processes of checking the

image in the viewfinder (or on the smartphone screen) against the desired outcome. We tell

ourselves mentally to “center the image,” and “hold steady.” We tell ourselves to “fit the image

on our mobile device’s camera screen,” “get closer,” or “check the lighting.” The breadth of

USAA’s view of these Asserted Patents is captured in their use of these very same mental processes

as alignment guides, monitoring criteria, and feedback instructions accused of infringement, such

as “center check and hold steady,” “place your check on a dark-colored, plain surface that’s well

lit,” “position your camera directly over the check (not at an angle),” “fit[] all 4 corners in the

guides of your mobile device’s camera screen,” and/or “get closer”:




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                                                                          See Complaint at ¶ 36.




                                                                          Id. at ¶ 38;




                                                                          Id. at ¶ 74.




       Thus, based on USAA’s own allegations the claims cover nothing more than the mental

processes we all use to monitor, correct, and then take a desired photo. No claim construction is

necessary based on USAA’s prior positions and its current allegations.

              Alice Step One: The Asserted Patents are directed to the abstract idea of
              monitoring, capturing, and transmitting an image.

       Step one of the two-part Alice test requires that the Court determine whether the claims are

directed toward a patent-eligible concept. The claims of the Asserted Patents attempt to claim a

mental process employed by even the most novice of photographers—merely replacing the human

mind with a generic computer processor. Moreover, the inclusion of an additional “transmitting”



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step in some claims does not save them from abstractness, as mere transmission has long been

found to be abstract by this Court and the Federal Circuit.

       First, the representative claims of Asserted Patents attempt to claim the mental or human-

performed process of taking a picture (i.e., monitoring an image, determining whether that image

should be captured, and then capturing that image). These mental or human-performed steps are

highlighted in blue below (the additional transmission step—in purple—will be addressed shortly).

             ’779 Patent, Claim 10                            ’090 Patent, Claim 11
 10. A non-transitory computer-readable         11. A method for capturing an image of a
 medium comprising instructions for             target document by a mobile computing
 depositing a check, said instructions being    device, the method comprising:
 executed by a processor of a mobile device to:
                                                    monitoring a target document in a field
     project an alignment guide in a display        of view of an image capture device with
     of the mobile device, the display of the       respect to a monitoring criterion,
     mobile device displaying a field of view       wherein the image capture device is
     of a camera of the mobile device:              included in the mobile computing device;

    monitor an image of the check that is             controlling a presentation device to
    within the field of view of the camera;           present feedback information
                                                      describing an instruction for satisfying
    determine whether the image of the                the monitoring criterion, wherein the
    check aligns with the alignment guide;            presentation device is included in the
                                                      mobile computing device;
    automatically capture the image of the
    check when the image of the check is              determining whether the monitoring
    determined to align with the alignment            criterion is satisfied based on the target
    guide; and                                        document in the field of view of the
                                                      image capture device; and
    transmit the image of the check from the
    mobile device to a deposit system.                when the monitoring criterion is
                                                      determined to be satisfied, controlling
                                                      the image capture device to capture an
                                                      image depicting the target document in
                                                      the field of view of the image capture
                                                      device.


       Both the Supreme Court, the Federal Circuit, and this Court have long recognized that

patents cannot claim mental processes. In Mayo, the Supreme Court was clear that “mental

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processes, and abstract intellectual concepts are not patentable, as they are the basic tools of

scientific and technological work.” Mayo, 566 U.S. at 70 (citing Gottschalk v. Benson, 409 U.S.

63, 67 (1972)). The Supreme Court then applied this principle to invalidate diagnostic and

therapeutic method claims that combined routine and conventional physical implementation of a

law of nature with a simple mental process.” Id. at 78 (invalidating claims directed, inter alia, to

“determining” a diagnostic criteria and then acting upon that determination).

       Similarly, the Federal Circuit has recognized that “[m]ethods which can be performed

entirely in the human mind are unpatentable not because there is anything wrong with claiming

mental method steps as part of a process containing non-mental steps, but rather because

computational methods which can be performed entirely in the human mind are the types of

methods that embody the ‘basic tools of scientific and technological work’ that are free to all men

and reserved exclusively to none.” CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366,

1373 (Fed. Cir. 2011). To that end, merely “analyzing information by steps people go through in

their minds, or by mathematical algorithms, without more, as essentially mental processes within

the abstract-idea category.” Electric Power Group, LLC v. Alstom S.A., 830 F.3d. 1350, 1354

(Fed. Cir. 2016) (invalidating patent directed to “monitoring” and analyzing data). Such mental

process steps include those that “merely set[] forth a routine comparison that can be performed by

the human mind.” Genetic Tech. Ltd. v. Merial, L.L.C., 818 F.3d 1369, 1378-79 (Fed. Cir. 2016).

       This Court has also recognized that mental processes that could be performed as easily by

a human are not patent-eligible. Clear with Computers, 2015 WL 993392, at *4 (invalidating

patents under § 101 where “[t]he steps performed by the claimed computer elements are functional

in nature and could easily be performed by a human”).




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       Here, the Asserted Patents claim the very same type of mental process found invalid in

previous cases like Mayo, Electric Power, Genetic Technologies, and Clear with Computers.

Fundamentally, the Asserted Patent claims begin by claiming the mental process of deciding what

picture to capture and framing that picture. In the technical parlance of the representative claims

this occurs via an “alignment guide” or a “monitoring criterion,” but could just as easily be

performed by an artist or photographer using their hands to frame a picture (as demonstrated

graphically below):




This picture framing can also just as easily occur inside viewfinders of a camera, which have been

around for decades. This can be seen in the myriad of live preview viewfinders set forth in Wells

Fargo’s counterclaim. (Dkt. No. 16 at ¶¶ 11-91). In order to match the desired outcome with the

current viewfinder, the photographer may have to give himself or herself a number of mental

instructions—or “feedback information.” As USAA alleges (see Section III.B. above), such

instructions may be to “Get closer,” or “Hold steady.” The photographer might also want to change

the angle of the shot by crouching down or hovering over the picture’s subject—or in the parlance

of USAA’s allegations “Position your camera directly over the [subject].” Next, the photographer

makes a routine, mental comparison of what is seen in their viewfinder to the picture they desire

to take—the “determining” step in the parlance of the Asserted Patents. With this comparison

mentally satisfied, the photographer performs the last step, pressing the shutter release to take the

desired picture—or “automatically capture” the image.

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       All of these are mental steps taken by photographers every day. Indeed, quite often the

mental processes of human photographers are much more advanced than taking a simple picture

of a document. Instead, professional photographers perform complex adjustments to monitor and

ultimately capture an image of their subject—leading to amazing photographic art. But even lay

photographers perform mental processes more complex than those in the Asserted Patents—

leading to millions of selfies per day and the oft-shared Tower of Pisa pictures discussed above.

USAA cannot patent the mental steps necessary to take a picture.

       Indeed, courts have routinely found these “monitoring,” “determining,” “capturing,” and

“instruction” steps of the Asserted Patents to be abstract concepts not eligible for patent

protections. Both the Federal Circuit and this Court have invalidated patents under § 101 directed

to or claiming “monitoring” steps as abstract or mental processes. See Electric Power, 830 F.3d.

at 1354 (invalidating patent directed to “monitoring” and analyzing data); Fairwarning IP, LLC v.

Iatric Sys., Inc., 839 F.3d 1089, 1097 (Fed. Cir. 2016) (invalidating patent “directed to the broad

concept of monitoring audit log data”); My Health, Inc. v. ALR Techs., Inc. Case No. 2:16-cv-535,

2017 WL 6512221, at *4 (E.D. Tex. Dec. 19, 2017) (Payne, M.J.) (finding that “[p]atient treatment

and monitoring methods” have long been declared ineligible and cannot be differentiated from

“ordinary mental processes,” and awarding fees). Similarly, the Federal Circuit, this Court, and

even the Supreme Court have found “determining” steps to be abstract. Mayo, 566 U.S. at 79

(invalidating patent with a “‘determining’ step [that] tells the doctor to determine the level of the

relevant metabolites in the blood”); Bancorp Services LLC v. Sun Life Assur. Co., 687 F.3d 1266,

1279-1280 (Fed. Cir. 2012) (invalidating “claims that require determining values . . . as a matter

of mere mathematical calculation”); My Health, Inc. v. DeVibiss Healthcare, LLC, Case No. 2:16-

cv-535, 2017 WL 3836124, at *4 (E.D. Tex. Feb. 14, 2017) (Payne, M.J.) (finding patient



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treatment claims with multiple “determining” steps of the type that “have universally been found

to be unpatentable under Alice”). Similar findings have been made by courts for “capturing” and

“instruction/feedback” steps as well. SmarTEN LLC v. Samsung Elecs. Am., Inc., Case No. 1:17-

cv-1381, 2018 WL 1368268, at *3-6 (E.D. Va. Mar. 16, 2018) (invalidating patent claiming

various “monitoring subsystem[s]” that “provide feedback to [the] user”); Becton, Dickinson and

Co. v. Baxter Int’l, Inc., 127 F. Supp. 3d 687, 690 (W.D. Tex. 2015) (invaliding patent containing

steps of “capturing, via an image capture device . . . one or more images” and “transmitting the

one of more images captured”). 8

       Because the “monitoring,” “determining,” “capturing,” and “instruction” steps are all

mental process steps of the type routinely found to be abstract and invalid by this and other courts,

the only step remaining is the “transmitting” step (in purple above). The mere transmission of

data, however, does not save these claims. Transmitting data is itself an abstract process. To carry

the metaphor above forward, the transmitting step is tantamount to a photograph or mobile device

user sharing their photos (such as their Tower of Pisa photo) with friends and family, or uploading

the image to any number of social media sites. To similar ends, the mere transmission of data has

also routinely been held by this and other Courts to be abstract in nature (or part of claims found

abstract and patent ineligible). See Rothschild Location Techs. LLC v. Geotab USA, Inc., Case

No. 6:15-cv-682, 2016 WL 3584195, at *5 (E.D. Tex. Jan. 4, 2016) (recognizing that “[t]he Federal

Circuit has identified method claims that involve collecting, organizing, recognizing, and/or

transmitting information as abstract ideas” (emphasis added) (citing Cyberfone Sys., LL v. CNN

Interactive Group, 558 F. App’x 988, 992 (Fed. Cir. 2014) (“using categories to organize, store,




8
  See also Exhibit A (gathering additional cases where Federal Circuit and district courts have
found such steps abstract).
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and transmit information”)); Zuili v. Google LLC, 722 F. App’x 1027, 1030-31 (Fed. Cir. 2018)

(invalidating claims “directed to the abstract idea of collecting, transmitting, analyzing, and storing

data to detect fraudulent and/or invalid clicks” (emphasis added)).

       Because the claims of the Asserted Patents attempt to claim the abstract idea of monitoring,

capturing, and transmitting an image, step one of the Alice inquiry is satisfied here. The Asserted

Patents are directed to a patent-ineligible concept. Because the claims do not contain some

additional inventive concept, something in addition to the abstract idea of monitoring, capturing,

and transmitting an image, the claims fail step two and are invalid.

               Alice Step Two: The Asserted Patents do not contain an inventive concept that
               transforms the abstract idea.

       The Asserted Patents do not contain an inventive concept under Alice step 2. Once the

abstract idea is itself removed, only generic computer components remain, which are insufficient

to save the claims. Moreover, USAA’s expected responses under DDR, Enfish, and their progeny

are easily addressed.

       Turning to the second step of the Alice test, the Court must consider the remaining elements

of the claims, other than the abstract idea, to determine whether they contain an “inventive

concept” sufficient to transform the abstract idea into a patent-eligible application. Alice, 134 S.

Ct. at 2357. In other words, “[w]hat is needed is an inventive concept in the non-abstract

application realm.” SAP Am., Inc. v. InvestPic, LLC, 890 F.3d 1016, 1022 (Fed. Cir. 2018). The

Supreme Court, however, has been clear, “the mere recitation of a generic computer cannot

transform a patent-ineligible abstract idea into a patent-eligible invention.” Alice, 134 S.Ct. at

2358. Here, the majority of the claims are written and directed toward the abstract idea itself (see

highlighted claims in Section C above). All that is left in the non-abstract realm are generic




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computer components, which cannot save the claims. The claims are thus not transformed, but

instead remain abstract and unpatentable.

         Here, the Asserted Patents describe all of the computer components in highly-generic

terms.    The communications network may be “any suitable network and may support any

appropriate protocol suitable for communication.” (See, e.g., ’779 Patent at 17:35-37 (emphasis

added)). The bank systems are described as “any combination of hardware components such as

processors, databases, storage drives, registers, cache, random access memory (RAM) chips, data

buses, or the like and/or software components such as operating systems, database management

applications, or the like.” (See, e.g., id. at 4:22-32 (emphasis added)). Such networks and

computers have routinely been found to be generic such that they do not impart an inventive

concept under Alice step 2. SAP Am., Inc., 890 F.3d at 1023 (collecting cases and stating that “this

court has ruled many times that such invocations of computers and networks that are not even

arguably inventive are insufficient to pass the test of an inventive concept in the application of an

abstract idea”).

         The user’s mobile device likewise is described generically as “a mobile phone (also known

as a wireless phone or a cellular phone), a personal digital assistant (PDA), or any handheld

computing device, for example.” (See, e.g., id. at 3:49-52 (emphasis added)). Such handheld

computing devices are then further described as having only the most generic of components: “a

processor 1020, a storage device 1022, an output device 1024, an input device 1026, and a network

interface device 1028, all connected via a bus 1030.” (See, e.g., id. at 16:10-13; see also notes 3-

7 above). Such mobile devices have also routinely been found to be generic such that they do not

impart an inventive concept under Alice step 2. See Intellectual Ventures I LLC v. Erie Indemnity

Co., 850 F.3d 1315, 1331 (Fed. Cir. 2017) (invalidating patent that “simply recites that the abstract



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idea will be implemented using the conventional components and functions generic to electronic

mobile devices”); Mobile Telecomm. Techs., LLC v. Blackberry Corp., Case No. 3:12-cv-1652,

2016 WL 2757371, at *4 (N.D. Tex. May 12, 2016) (Lynn, J.) (“mobile units are generic computer

hardware components” that “do not add something significantly more as required to transform the

abstract idea”); Cellspin Soft, Inc. v. Fitbit, Inc., Case No. 17-cv-05928, 2018 WL 1610690, at *7

(N.D. Cal. April 3, 2018) (invalidating patent that “merely utilizes generic computer hardware and

software components, namely a ubiquitous mobile phone” (internal quotations omitted)).

       As such, all of the hardware associated with the Asserted Claims do not impart an inventive

concept sufficient to save these claims.

       The stated software features also do not save the claims. First, as demonstrated in the

section above, the non-hardware claim language is directed to the abstract idea itself. Claim

language directed to the abstract idea itself cannot provide the necessary inventive concept under

Alice step 2—which seeks something in addition to the abstract idea or “an inventive concept in

the non-abstract application realm.” SAP Am., Inc., 890 F.3d at 1022.

       Second, any attempts by USAA to argue that the “automatic” nature of the image capture

save these claims must fail. The fact that any image capture may be done “automatically” in the

Asserted Claims does not save them from ineligibility. As this Court has recognized, that a generic

or “general purpose computer with minimal programming can perform functions ‘automatically’

and ‘dynamically,’” does not save the claims. Clear with Computers, 2015 WL 993392, at *4.

Rather the “implementation of an abstract idea on such a computer is not an inventive concept.”

Id. (citing Alice, 134 S.Ct. at 2358).

       Third, even if the Court finds that the transmission of data is not itself abstract (as argued

above), the mere transmission of data of generic networks does not impart an inventive concept



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sufficient to save the claims. The Federal Circuit has recognized that mere transmission by itself

is “not even arguably inventive.” BuySAFE, 765 F.3d at 1355 (“That a computer receives and

sends the information over a network—with no further specification—is not even arguably

inventive.”); see also Smartflash LLC v. Apple Inc., 680 F. App’x 977, 983 (Fed. Cir. 2017)

(“merely storing, transmitting, retrieving, and writing data to implement an abstract idea on a

computer does not transform the nature of the claim’ into a patent-eligible application.” (emphasis

added, internal quotation omitted).

       Fourth, the fact that the mobile devices contain a camera is not sufficient to save the claims.

At this point, cameras (including cameras embedded in mobile devices) are generic and as such

are insufficient to provide an alleged inventive concept. In re TLI Comm. LLC Patent Litigation,

823 F.3d 607, 612, 614 (Fed. Cir. 2016) (invalidating patent claiming a mobile device with camera

where “the problem facing the inventor was not how to combine a camera with a cellular

telephone,” and instead the use of a mobile device camera “fall[s] squarely within our precedent

finding generic computer components insufficient to add an inventive concept to an otherwise

abstract idea”); see also Wolf v. Capstone Photography, Inc., Case No. 2:13-cv-09573, 2014 WL

7639820, at *12 (C.D. Cal. 2014) (invalidating claims that “recite generic technological categories

such as a computer network server, a web-site server, and a digital camera”).

       USAA will likely take issue with the real-world, human activities above, including the

Tower of Pisa example by pointing out that the Asserted Claims are limited to the capture of

financial checks. But the fact that the Asserted Claims are limited to check image capture does

not save the claims. Limiting an abstract idea to a particular field—such as monitoring an electric

power grid—does not save a claim from abstraction or provide an inventive concept. Electric

Power Group, 830 F.3d. at 1356. Moreover, the Supreme Court has made clear that preemption



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is not the test that Courts and judges should apply—opting instead for the two-step test laid out in

Mayo and followed in Alice. Mayo, 566 U.S. at 88-89 (“Courts and judges are not institutionally

well suited to making the kinds of judgments needed to distinguish among different laws of nature.

And so the cases have endorsed a bright-line prohibition against patenting laws of nature,

mathematical formulas and the like, which serves as a somewhat more easily administered proxy

for the underlying ‘building-block’ concern); accord Alice, 134 S.Ct. at 2355. As such, any

protestation by USAA that its abstract claims are narrow or specific to the idea of check processing

is misplaced.

       In addition, the steps of the asserted claims also do not “improve the functioning of the

computer itself,” Alice, 134 S. Ct. at 2359 (emphasis added), which could be accomplished for

example by disclosing an “improved, particularized method of digital data compression,” DDR

Holdings, LLC v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or by improving “the

way a computer stores and retrieves data in memory,” Enfish, 822 F.3d at 1339. The claims

nowhere recite a particularized improvement to the function of the servers, networks, or mobile

devices at issue. Instead, as in Clear with Computers, “[t]he claims here invoke computer

technology only to take advantage of the relative ease by which a computer, rather than a human,”

can monitor, capture, and transmit images. Clear with Computers, 2015 WL 993392, at *4.

       The claims here also do not “effect an improvement in any other technology or technical

field.” See Alice, 134 S.Ct. at 2359. USAA alleges that the Asserted Patents “solve discrete,

technological problems associated with computing systems used as part of capturing images of

checks for deposit on mobile devices.” (See Dkt. No. 1 at ¶ 15). 9 But these claims, like those in




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  Although this quote is specifically alleged for the ’779 and ’517 patents in the Complaint, USAA
includes a virtually identical self-serving allegation for the ’090 and ’571 patents, merely replacing
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Clear with Computers, contain “no inventive algorithms or otherwise creative means for

[performing the claimed method] other than an instruction that the basic process be performed

using generic computer components.” Clear with Computers, 2015 WL 993392, at *5.

V.     CONCLUSION

       Because the claims of the Asserted Patents disclose only an abstract idea run on generic

computer components, there is no “inventive concept” that could transform the unpatentable,

abstract idea into a patent-eligible invention. Alice, 134 S. Ct. at 2357. The Asserted Patents are

not patent-eligible and this case should be dismissed now at the Rule 12 stage.




“computing systems” with “computer systems” and “for deposit on mobile devices” with “for
deposit using mobile devices.” Dkt. No. 1 at ¶ 17. The similarity of these vague, high-level
statements further confirms that all of the Asserted Patents are equally abstract under Step 1, and
that there is no inventive concept in the non-abstract application realm at Step 2.
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September 18, 2018                     Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

        On September 13, 2018, lead counsel for Wells Fargo and USAA conferred via telephone
regarding the subject matter of this motion per the requirements of Local Rule CV-7(h) and Judge
Gilstrap’s Standing Order. Counsel indicated that USAA is opposed to this motion and that the
parties’ disagreed that prior claim construction is not needed to inform the Court’s analysis as to
patentability.

                                                     /s/ Michael A. Bittner
                                                     Michael A. Bittner

                     CERTIFICATE OF COMPLIANCE WITH
              STANDING ORDER ON 35 U.S.C. § 101 MOTION PRACTICE

               The parties agree that prior claim construction is not needed to inform the Court’s
               analysis as to patentability.

          X    The parties disagree that prior claim construction is not needed to inform the
               Court’s analysis as to patentability.

                                                     /s/ Michael A. Bittner
                                                     Michael A. Bittner

                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically in
compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who
are deemed to have consented to electronic service pursuant to Local Rule CV-5(a)(3)(A).


                                                     /s/ Michael A. Bittner
                                                     Michael A. Bittner




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